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                         UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

CBIZ, INC., et al.,                        )     CASE NO. 1:24-cv-01027
                                           )
       Plaintiffs,                         )     JUDGE J. PHILIP CALABRESE
                                           )
       v.                                  )     MAGISTRATE JUDGE JONATHAN D.
                                           )     GREENBERG
GREGORY J. CRYAN, et al.,                  )
                                           )
       Defendants.                         )     PLAINTIFFS’ MOTION TO WITHDRAW
                                           )     DECLARATIONS OF MARK LANTERMAN

       Plaintiffs CBIZ, Inc., CBIZ Benefits & Insurance Services, Inc., and CBIZ Insurance

Services, Inc. (collectively “Plaintiffs”) respectfully move this Court for leave to withdraw the

Declarations of Mark Lanterman, ECF No. 18-1 and ECF No. 86-60. The reason for this motion

is that questions have been raised about Mr. Lanterman’s qualifications for which Plaintiffs’

counsel does not have answers. Further reasons supporting this motion are contained in the

memorandum and exhibits in support.

                                               /s/ Lawrence D. Pollack
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                                               Inc., and Third-Party Defendant Mike Gill
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                                CERTIFICATE OF SERVICE

       I certify that on April 4, 2025, a copy of Plaintiffs’ Motion to Withdraw Declarations of

Mark Lanterman was electronically filed via the Court’s CM/ECF system. Notice and a copy of

this filing will be sent to counsel of record for all parties via the Court’s CM/ECF system.

                                                  /s/ Lawrence D. Pollack
                                                  One of the attorneys for Plaintiffs CBIZ, Inc.,
                                                  CBIZ Benefits & Insurance Services, Inc., and
                                                  CBIZ Insurance Services, Inc., and Third-
                                                  Party Defendant Mike Gill.




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